                                        Case 3:25-cv-02847-AMO            Document 17      Filed 03/27/25      Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     COMMUNITY LEGAL SERVICES IN                       Case No. 25-cv-02847-AMO
                                         EAST PALO ALTO, et al.,
                                   8                    Plaintiffs,                        ORDER SETTING HEARING,
                                   9                                                       ORDERING RESPONSE, AND
                                                 v.                                        ORDERING SERVICE
                                  10
                                         UNITED STATES DEPARTMENT OF                       Re: Dkt. No. 7
                                  11     HEALTH AND HUMAN SERVICES, et
                                         al.,
                                  12
Northern District of California




                                                        Defendants.
 United States District Court




                                  13

                                  14          Before the Court is Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

                                  15   Injunction. The Court will hear the Motion for Temporary Restraining Order at 10:00 a.m. on

                                  16   Tuesday, April 1, 2025, in Courtroom 10, 450 Golden Gate Ave., San Francisco, California.

                                  17          The Court ORDERS Defendants to respond in writing by no later than noon on Monday,

                                  18   March 31, 2025.

                                  19          The Court further ORDERS Plaintiffs to serve a copy of this Order on counsel for

                                  20   Defendants and to file a certificate of service regarding the same by no later than 5:00 p.m. today,

                                  21   March 27, 2025.

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                                  23          IT IS SO ORDERED.

                                  24   Dated: March 27, 2025

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                                                                                                   ARACELI MARTÍNEZ-OLGUÍN
                                  27                                                               United States District Judge
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